IQ:

TEN-EX COMMERCIAL REAL ESTATE, et al
legal@ten-x.com

READYCAP COMMERCIAL LLC, et al
TMoylan@dmoc.com

SVN I STORA REALTY
sstoehrer@svn.com

KEVBANK
TMoylan@dmoc.com




                                         STRICTLY CONFIDENTIAL

                                       FOR LITIGATION PURPOSES




                          1
    TEN-EX COMMERCIAL REAL ESTATE, et al
    legal@ten-x.com

    READYCAP COMMERCIAL LLC, et al
    TMoyla n@dmoc.com

    SVN I STORA REALTY
    sstoehrer@svn.com

    KEYBANK
    TMoylan@dmoc.com

                                         June 27, 2023


       Please see the attached action, a rough draft version of which


was filed yesterday with the Court


       Take notice that any sale of the mortgage and note made without

reference to the serious lender liability issues that have been identified in

the attached and related lawsuits appear to be in violation of criminal and

civil law.


       I'd like to have this heard tomorrow in order to give a judge the

opportunity to order a stop to the sale: please do not proceed with the

referenced Note and Mortgage sale or enter into any agreements regarding

same until after this matter has been adjudicated.


                                Regards,

                             AP Pascarella

                                     2
                                      UNITED STATES DISTRICT COURT
                                        DISTRICT OF CONNECTICUT

AP Pascarella
     -   --   ------


Plaintiff,
V.                                                          : Case No. _ _ _ _ _ _ _ _ __

Ten-Ex Commercial Real Estate, et al.

Defendants.                                                     June 27, 2023



                                 Revised COMPLAINT AND REQUEST FOR INJUNCTION


         L             The Parties to This Complaint
                       A. The Plaintiffs

                       AVERARDO PASCARELLA
                       (PRO SE)
                       c/o The Pascarella Law Firm PC
                       PO Box 2
                       Greenwich, CT 06830
                       Tel. +1 (917) 771-2511 cell
                       aldo@pascarellalaw.com

                       B. The Defendants

                       TEN-EX, INC.
                       TEN-EX COMMERCIAL REAL ESTATE
                       SAMANTHA CORBAT, its Supervising Broker
                       STEVEN JACOBS, its President, CEO/CFO
                       VIBHAV KAPILA, its Supervising Broker
                       MATTHEWVANDERMYDE, its Director
                       MICHAEL VASOGHI, its Supervising Broker
                       17600 Laguna Canyon Road
                       Irvine, CA 92618-5432
                       Tel. +1 (888) 770-7332
                       legal@ten-x.com



                                                        3
          READYCAP COMMERCIAL LLC, an SBC1 loan originator
          READYCAP HOLDINGS LLC, its Parent (%100)
          SUTHERLAND PARTNERS LP, General Manager, a REIT under IRC '86
          SUTHERLAND ASSET MANAGEMENT CORP., its sole General Partner
          a Maryland Corp.
          WATERFALL ASSET MANAGEMENT LLC, its Manager (1940 Act Reg.)
          READYCAP LENDING LLC, a related entity
          READYCAPITAL MORTGAGE DEPOSITOR, LLC, a related entity
          READYCAP MORTGAGETRUST 2016-3, the fund meant to hold the Loan
          JULIAN MURILLO, Asset Manager of ReadyCap Commercial LLC
          Timothy P. Moylan
          203-358-0800 X 3330
          TMoylan@dmoc.com

         SVN I STORA REALTY, its Property Manager & Broker
         STEVEN STOEHRER, its Managing Director (a NY licensed realtor-
         #S1St1012361)
         JOSH MEHLBERGER, its Asset Manager
         SVN COMMERCIAL, its Connecticut realtor license holder
         ELEVATE ASSET MANAGEMENT
         SVN ELEVATE
         ALICE HARVEY, Portfolio Manager- National Accounts at SVN Elevate
         SVN INTERSTATE BROKERS
         JOHN JOHNSON, Managing Director at SVN Interstate Broker
         REID BENNETT, National Council Chair of Multifamily Properties for SVN
         CODY DORAN, SR VP AT SVN CHICAGO
         SVN Stora Realty Corp
         31 West 34th Street, 7th Floor,
         New York, NY 10001
         Tel. +1 (929) 343-5051
         sstoehrer@svn.com

         KEYBANK
         Mr. Stephens, Derek A., an employee of KeyBank
         GRANT WINEMILLER, Asset Manager at KeyBank
         Timothy P. Moylan

1 "SBC" is asmall balance commercial loan, such as the one Defendants are
attempting to auction.
                                       4
         203-358-0800 X 3330
         TMoylan@dmoc.com

II. BASIS FOR JURISDICTION
                    -
           - --------   --- -   -   ""--   -




   A. 28 use SEC 1331: QUESTIONS OF LAW

   Defendants have published false and misleading statements in violation of the
Loan Documents and the Court Order and through other acts, omissions and
breaches have creating express rights and remedies due to violations of 15 U.S.
Code§ 1692d and Conn. Gen. Stat. § 53a-142a and others as may be applicable
and plead in future amended complaints.

   28 USC SEC 1332: Defendants are not from Connecticut, Plaintiffs Are

      Averardo P. Pascarella is an individual resident of the State of Connecticut

      Defendants Ten-Ex, Inc. et al are neither Connecticut corporations nor
residents, although some of its Employees named as additional defendants may
be.

      Defendants ReadyCap, Inc. et al are neither Connecticut corporations nor
residents, although some of its Employees named as additional defendants may
be.

      Defendants SVN et al are neither Connecticut corporations nor residents,
although some of its Employees named as additional defendants may be.

      Defendants KeyBank et al are neither Connecticut corporations nor
residents, although some of its Employees named as additional defendants may
be.

      Hence, there is diversity of citizenship.

      The amount in dispute is more than $75,000.

Ill. STATEMENT OF CLAIMS

15 U.S. Code§ 1692d- Harassment or abuse

A debt collector may not engage in any conduct the natural consequence of which
is to harass, oppress, or abuse any person in connection with the collection of a



                                               s
debt. Without limiting the general application of the foregoing, the following
conduct is a violation of this section:

(1 )The use or threat of use of violence or other criminal means to harm the
physical person, reputation, or property of any person.

(2)The use of obscene or profane language or language the natural consequence
of which is to abuse the hearer or reader.

(3) The publication of a list of consumers who allegedly refuse to pay debts, except
to a consumer reporting agency or to persons meeting the requirements of
section 1681 a(f) or 1681 b(3) [1] of this title.

_(4) The advertisement for ~ale of any debt to coercuayment of the debt.

(5) Causing a telephone to ring or engaging any person in telephone conversation
repeatedly or continuously with intent to annoy, abuse, or harass any person at
the called number.

(6) Except as provided in section 1692b of this title, the placement of telephone
calls without meaningful disclosure of the caller's identity.

Conn. Gen. Stat. § 53a-142a- Filing a false record

(a) A person is guilty of filing a false record against real or personal property when
with intent to defraud, deceive, injure or harass another, he or she files, or causes
to be filed with a municipality, a record he or she knows, or reasonably should
know, is false. As used in this section, "record" means information that is inscribed
on a tangible medium or that is stored in an electronic or other medium and is
retrievable in perceivable form, and includes any record that is recorded in the
office of the town clerk.

(b) A person is guilty of filing a false record under sections 42a-9-501 to 42a-9-526,
inclusive, when with intent to defraud, deceive, injure or harass another, he or she
files, or causes to be filed with the Secretary of the State or a municipality, a
record he or she knows, or reasonably should know, is false.

(c) Filing of a false record is a class D felony.




                                             6
                         UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT

AP Pascarella
Plaintiff,
V.                                            : Case No. _ _ _ _ _ _ _ __

Ten-Ex Commercial Real Estate, et al.

Defendants.                                         June 27, 2023


                           MOTION FOR INJUNCTION

        Plaintiff seeks a Court Order (i.e. a Temporary/ Permanent Restraining
Order) SEEKING INJUCTIVE RELIEF FROMTHIS COURT:

        (i)     TEMPORARY INJUNCTION ORDERING THE DEFENDANTSTO CEASE
                AND DESIST FROM AUCTIONING THE NOTE AND MORTGAGE UNTIL
                THE LATER OFTHIRTY (30) DAYS AFTERTHE NEXT LAW DAY SET BY
                THE TRIAL COURT (OR ANY EXTENSIONS THEREOF) - CURRENTLY
                SET FOR SEPTEMBER , 2023) ANDTO REMOVE ANY PROMOTIONS
                OR PUBLICATIONS REGARDING THE AUCTION ORTHE PROPERTY
                FROM THE INTERNET AND CEASE AND DESIST FROM ANY FURTHER
                COMMUNICATION REGARDING SAME I.E. A 'GAG ORDER' UNTIL A
                HEARING CAN BE SCHEDULEDTO ADJUDICATE THE MATTER
        (ii)    TEMPORARY INJUCTION FROM PROCEEDING WITH ITS MORTGAGE
                FORECLOSURE ACTION UNTIL AN ACCOUNTING OF THE VALUE OF
                SAID NOTE AND MORTGAGE, INCLUDING ANY SET-OFFS,
                COUNTERCLAIMS, OR - HAS BEEN ADJUDICATED BYTHIS COURT
        (iii)   PERMANENT INJUNCTION FROM DEFENDANTS, OR ANY OFTHEIR
                EMPLOYEES, AGENTS OR ATTORNEYS, INTERFERING WITH OR IN·
                ANYWAY IMPEDING (INCLUDING BY MEANS OF AGENTS
                FOMENTING N.I.M.B.Y. OPPOSITION)THE PROGESS OF
                BORROWER'S EFFORTS TO APPLY FOR AND SECURE
                ENTITLEMENTS (FOR MULTI-FAMILY RESIDENTIAL APARTMENTS,
                OR OTHER USES, AS APPROVED BYTHIS COURT)THATWILL
                ENABLE REPAYMENT OFTHE DEBT
        (iv)    THATTHE PARTIES HERETO STAY ANY AND ALL FURTHER
                PROCEEDINGS INTHIS COURT UNTIL THETRIAL COURT

                                          7
                 PROCEEDINGSTHAT ARE RELATEDTOTHESE MATTERS ARE
                 DECIDED
        (v)      THATTHE BORROWER IS HEREBY AUTHORIZEDTO MAKE SUCH
                 APPLICATIONS AND MAY DRAW ON THE $455,000TENANT
                 IMPROVEMENT AND LEASING RESERVETO AFFORD THE
                 ARCHITECTS, ENGINEERS, AND ATTORNEYS NEEDED TO SECURE
                 THE ENTITLEMENTS
        (vi}     THATTHE PARTIES PROVIDETHIS COURTWITH COPIES OFTHE
                 RECEIVERS REPORTS BEING FILED INTHE STATE COURT
        (vii)    THATTHE RECEIVER'S COURT ORDER BE DISSOLVED OR BE
                 REVISEDTO MAKE ITS MISSION NOTTHE 'SALE' OFTHE PROPERTY,
                 AS IT HAS BEEN SINCE IMPLEMENTED IN 2020, BUT INSTEADTHE
                 'REPOSITION OFTHE PROPERTY'
        (viii)   THAT EACH DEFENDANT (OR, SUCH DEFENDANTS AS THIS COURT
                 MAY DECIDE) WILL BE PERMANENTLY ENJOINED FROM BIDDING
                 ON OR ACQUIRING ANY INTEREST IN EITHERTHE NOTE OR
                 MORTGAGE OR ANY OTHER NOTE OR MORTGAGE AFFECTING THIS
                 PROPERTY OR BORROWERS
        (ix)     THAT EACH DEFENDANT (OR, SUCH DEFENDANTS AS THIS COURT
                 MAY DECIDE} WILL BE PERMANENTLY ENJOINED FROM ENTERING
                 INTO OR CHANGINGTHETERMS OF ANY LEASE OR CONTRACT
                 AFFECTING THIS PROPERTY OR BORROWERS
        (x)      THE LOAN (IN SUCH AMOUNT, IF ANY, IN EXCESS OF ANY
                 COUNTERCLAIMS, SHOULD BE RETURNEDTOTHE FUNDTHAT IT
                 WAS MEANTTO BE IN FORTHETEN-YEARTERMTO MITIGATETHE
                 DAMAGES TO THE LENDER BYWAY OF NETTING AND DIVERSIFIED
                 PORTFOLIO BENEFITS

   I.          SUCH RELIEF IS EQUITABLE AND NECESSARVTO UNCLOG EQUITY OF
               REDEMPTION

   At least two (2) clogs on the equity of redemption are adjudicated and valued,
without which Plaintiff's may lose their valuable Greenwich Connecticut real estate
without the opportunity (with three (3) years remaining on the original ten (10)
year Loan term) to repay the actual debt due and owing which the current leasing
status of the Property will allow within that time frame.




                                         8
              "Adversity of a person is not a boon for others. If a person in stringent
          -
              financial conditions had taken the loan and placed his properties as security
              -         -----    ----   ------   - -   --- - - - - -   --   --   -- -   ----   - - -   -------   --   - - --   -----


              therefor, the situation cannot be exploited by the person who had advanced
              the loan. The Court seeks to protect the person affected by adverse
              circumstances from being a victim of exploitation .. :'
                     See: https://www.lawctopus.com/academike/doctrine-of-clog-on-
              redemption/# ftn20 (visited June 27, 2023)

   II.            CLOG ONE - PENDING LITIGATION

       The first clog are two (2) Superior Court lawsuits that may now be resolved
with the recent release of an appellate decision on the 2016 action Pascarella v.
Silver. That lawsuit and the related 2019 action Silver v. Pascarella, can finally be
resolved, meaning 20-years of longstanding litigation which is close to being
finally decided:

  1.          FST-CV-XX-XXXXXXX-S        PASCARELLA, HENRY v. SILVER, ROBERT
  2.          FST-CV-XX-XXXXXXX-S        R.S. SILVER ENTERPRISES, INC. v. RIVERSEDGE PARTNERS
  3.          FST-CV-XX-XXXXXXX-S        READYCAP COMMERCIAL, LLC v. WH PARCEL I, LLC

Once the damages in these cases are determined the main clog will be gone,
enabling Plaintiffs to refinance and pay the legitimate debt due to ReadyCap, if
any.

   Ill.           CLOGTWO- READYCAP LOAN IT ISTRYINGTO SELL TOTHIRD PARTY

       The second clog is the ReadyCap loan. Its Affidavit of Debt is incorrect and
its agents and employees have committed torts and are in breach of the Loan
Documents and Court Order, in material ways, that must be corrected prior to the
sale of the Mortgage and Note, if any sale is allowed to proceed.

      Certain of the Individuals named as Employees of Defendant corporations
have attested to Affidavits of Debt that appear to be inaccurate on their face and
yet which the Trial Court credited without addressing Plaintiff's late-filed exhibits.

      No trial as to the validity of either the claimed debt or the alleged appraised
value has yet occurred, with the first scheduled for next month.

      In the trial court, Plaintiffs have responded to Lender's claims and await a
hearing on their Motion to Dismiss Lender's foreclosure action.

                                                       9
         Plaintiffs have counterclaims and setoffs that more than offset the claimed
debt on the property which was improperly credited by a trial court judge without
reference to exhibits demonstrating a much higher value for the Property.

      The court ordered Receiver has, unfortunately, (after three (3) years running
the Property (2020-2023)) not added value to the Property.

       However, there remains substantial upside potential with the Plaintiff's
{already approved) plan to reposition the property as multi-family residential, with
an affordable component. The demonstrated value of said approvals, already
partially granted by the Town of Greenwich, more than offsets any alleged debt
owed to ReadyCap.

   IV.     DEFENDANTS ARE IN BREACH OFTHE LOAN DOCUMENTS

      The Loan was made, as represented to Plaintiffs at the time, as a 10-year
loan which would be securitized -which it was for a time in the defendant FUND
but then removed: a quantum meruitclaim will be made regarding this and fund
accounting and paperwork for the transactions made part of production in
discovery.

     In addition, because Defendants are in breach of the black letter of the Loan
Documents and Court Order, counterclaims sounding in contract and tort exist.

   V.      MONEY DAMAGES ARE INADEQUATE

       Every property is unique and hence money damages alone cannot made
Plaintiffs whole. Plaintiffs own a contiguous parcel and the two together are
"worth more that the sum of their parts:' Damages on the order of [14,000,000] {at
the low end) alone warrant this injunction. Nowhere in the material advertising
the offering of the Mortgage and the Note are the kind of

   VI.     20-YEAR LITIGATION FINALLY DECIDEDTWO (2) WEEKS AGO

        Plaintiffs have been forced by delays in rendering decisions including those
caused by the COVID virus to wait for many years (Ex. _ _ ) for clarity on how to
treat a Second (2nd) lawsuit brought on a contract which was, after seven (7) years
of litigation, determined not to be subject to res judicatawhich decision was made
final when the Ct Supreme Court declined to review it. (Ex. _ _ )The lack of clarity
regarding the meaning and related treatment of said Contract has resulted in 20-
years, with one counterparty's /is pendenson the property at issue for 19.5 of


                                          10
 those years making redevelopment and repositioning impossible. With the final
 ruling finding that both the Contract and Note remain in full force and effect a final
 determination of value can be made regarding the first clog on the equity of
· redemptien- ·- - - -

     VII.    CUTPA COUNTER~CLAIMS COULD WIPE OUTTHE DEBT COMPLETELY

        With money damages against the Defendants of Fourteen ($14,000,000)
 Million or more, and a fact pattern that conforms to the elements of CUTPA claim,
 once totaled, the Mortgage and Note allegedly for sale and of some finite value
 will be worth "less than nothing."

     VIII.   NO BOND POSTED FOR DAMAGES

        Defendants have failed to post a bond for damages including consequential
 and treble damages pursuant to GUPTA.

     IX.     MATERIAL MISREPRESENTATIONS

       By omitting to report details of the existing Litigation to the market in its
 advertising for the sale of the note and mortgage Defendants are guilty of material
 misrepresentations of fact.

    X.       PROMISSORY NOTE PAYABLE

       Defendant ReadyCap's SEC regulated filings state the following treatment
 by the company of promissory notes (the Silver Promissory Note is currently
 valued at $2 mm):

               [ReadyCap] accounts for promissory notes payable under ASC470,
               Debt ... [see attached Ex _]

 There is no netting "of debt issuance costs" in Defendant's Affidavit of Debt. Nor,
 now that the Silver Cases have been finally decided, is there any accounting for
 the Silver Note, which is necessary to clear title to the Property enabling Plaintiffs
 to refinance.

                                     Initial Claims

        In addition to claims under 15 U.S. Code§ 1692d and Conn. Gen. Stat.§ 53a-
 142a, the following claims and/or counterclaims.



                                           11
1) Tortious interference with contract and/or business opportunity. Defendants
    interfered with Borrower's transactions, relationship, and reputation with
        a. Vendors
        b. Brokers
        c. Tenants
        d. Neighbors
        e. Creditors
2) CUTPA
3) Intentional Infliction of Emotional Distress
4) Negligent Infliction of Emotional Distress
5) Fraud.
        a. Receiver's Reports claim Aldo Pascarella is 'in breach of lease' - there
           is no lease.
        b. Receiver's Motion for Contempt meant to embarrass Aldo Pascarella
        c. Defendant's falsely indicating "bankruptcy" in Trial Court Docket
           (which would trigger Personal Guarantees) to embarrass Aldo
           Pascarella
        d. Ignoring plain language of the Loan Documents to unlawfully, and in
           breach of those documents and the Court Order, tried to leverage the
           threat of personal liability to cause Aldo Pascarella emotional distress
6) Statute of Frauds: Attempting to add Debt to the claimed amount due with
    no authority to do so under the Loan Documents or the Court Order
       a. Receiver's new "loan" of $2,000,000 isn't valid since it isn't in writing.
        b. Courts have held that punitive damages are recoverable in bad faith
           tort actions when, and only when, the facts establish that defendant's
           conduct was aggravated, outrageous, malicious or fraudulent.
       c. In commercial lending transactions, such conduct being the
           exception rather than the rule, the conduct of the Defendants
           warrants treble damages under CUTPA.
7) Duress
8) Economic Duress
9) Interference with Business /Wrongful Interference, with regard to
    deliberately adverse actions taken by Defendants.
10)1mproper claims of Defaults under the Loan Documents.
11 )New leases for office uses entered into by Receiver despite Defendant's own
    Appraisal stating 'hold vacant' for residential development more valuable
    path


                                       12
   12)Defendants and Receiver added 'advances' to Borrower's loan balance, and
      charged default rate interest on these new advances, while the Court Order
      the Receiver was operating under was more limited (to receiving rents and
      paying-operating expenses-)--anEl-did not-mention-advancing-s13eGuJative
      development advances as activity it was authorizing.
   13)Intentional or Negligent misrepresentations to the Court (including the
      Affidavits of Debt and Receivers Reports.)
   14)Defendants owe Borrower and are in breach of the duty of Good Faith and
      Fair Dealing
   15)Defendants improperly failed to complete an environmental remediation
      while holding escrowed funds earmarked for that with said funds still held
      by Defendants today
   16)Appraisal Fraud - Defendants artificially reduced Market Value by ignoring
      "hold for residential development" as Highest & Best Use, then proceeded
      to advance funds to further encumber property to below market office
      leases which impair Borrowers ability to maximize its property's value for
      future residential development.
   17)Improper Standing to foreclosure; unclear who has title to the Mortgage
      and Note and which Defendant entities are capable of paying the substantial
      damages claimed by Plaintiff.
   18)Improper Acceleration - each of the negative contingencies understood
      ahead of time by the Lender to be a possibility when making the Loan did
      occur and, in addition, we are just exiting the official time period known as
      Covid-19; as mortgage foreclosures are equitable in nature, such
      acceleration and any additional interest charged should be adjudicated with
      the history of the making and enforcement of the Loan considered by this
      Court prior to any Affidavit of Debt being accepted as accurate.

Of course, there has been no disclosure regarding any of the above to potential
bidders for the Note and Mortgage at Auction; hence the need for an immediate
injunction.

Plaintiff reserves the right to bring additional claims or none at all, and given the
multiplicity of issues raised, requests the relief stated herein and any other relief
the Court deems just, necessary and lawful.

                                                     Respectfully submitted,

                                                     /s/ AP Pascarella

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                            CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing pleading/document was emailed
to the emails below on June 27, 2023.



TEN-EX COMMERCIAL REAL ESTATE, et al

legal@ten-x.com



READYCAP COMMERCIAL LLC, et al

TMoylan@dmoc.com

SVN I STORA REALTY

sstoehrer@svn.com

KEYBANK

TMoylan@dmoc.com


                                                        /s/ AP Pascarella




                                       14
OFFICE

NON-PERFORMING LOAN SALE I OFFICE                         *    ~
View Map   @) 200 PEMBERWICK RD, GREENWICH, CT 06831
             ee•---~•-H---•~••~~




© Transaction Fee: LJc,orr1 More

                                                                      PROPERTY INFORMATION
                                                                      Asset Type: Note

                                                                      Primary Property Type: Office

                                                                      Building Size (Sq. Ft.): 45,294

                                                                      Year Built: 1990

                                                                      Lot Size (Acres): 1. 7

                                                                      Parking Count: 125

                                                                      Floors: 2

                                                                      Original Balance: $6,300,000


                                                                      $6.3MM non-performing loan (NPL) collateralized by the fee simple interest in the Waterfall
                                                                      Building, a 45,294-square-foot office building.

                                                                      The loan was originated in October, 2016 as a cash-out refinance of an existing loan set to
                                                                      mature.


                                                                      The total exposure is $11.6M as of June 30th




                                   BIDDING ENDS IN:    CURRENT BID:
     RESERVE NOT MET
                                             1h:49m:48s                                    $6,750,000
                                                                       r, ,.. ,..,. ... + D, ,r..-hroc-o 0,.;,.. .... t:.,c;. on1 A.7,:;;




        Ten ..X'"                                                                                                                                               Login/Sign Up    °'   Address, City, Stat~   Zip




                                                                           Josh Mehlberger
                                                                           Ten-X




AUCTIONEER LICENSE      Ten••X, Inc. Samantha Corbet RE Brkr REB.0790949                                                          PROPERTY ID          190618                   EVENT ITEM   2023-Jun-26




                            INVESTtv!ENT                                                                                           COSTAR
                           OPPORTUNITY                                                                                          ANALYTICS




        Loan Information

        Loon Status                                      In Foreclosure                                                                     Recourse                            No
        Lien Position                                    First
        Current Balance                                  $6,083,118
        Original Balance                                 $6,300,000
        Maturity Date                                    11/01/2026
        Rote                                             6.13% Fixed


        Property Information

        $6.3MM non-performing loon (NPL) collateralized by the fee simple interest in the Waterfall Building, a 45,294-square-foot office building.

        The loan was originated in October, 2016 as a cash-out refinance of an existing loan set to mature.

        The total exposure is $11.6M as of June 30th

        Current foreclosure date has been reset by change of low dote for September 12, 2023.
  Primary Property Type                           Office                                           Type of Ownership                               Fee Simple
  Year Built                                      1990                                             Building Class                                  Class B
  Floors                                          2                                                Assessor's Parcel Number                        GREE-000009-000000-002528°S000000
  Lot Size (Acres)                                1.7                                              Property ID                                     190618
  Starting Bid                                    $3,000,000                                       Parking Count                                   125
  Building Size (Sq. Ft.)                         45,294                                           Zoning Designation                              GBO
  Parking Ratio                                   8.28                                             Building Coverage Ratio                         0.61
  Floor Plate Size (Sq. Ft.)                      7,549                                            Tenancy Type                                    Multi

                                                                                                                                                                                                       \
  Detailed Description

  SVN Stora Realty proudly presents this offering to buy the underlying note and mortgage, secured by the collateral known as the Waterfall building located at 200 Pemberwick Road in Greenwich,
  Connecticut. Waterfall building is an 18-unit office property investment opportunity with a pending law date of September 12, 2023

  The subject property is housed in a mostly residential area of Greenwich, an affluent neighborhood on Connecticut's Gold Coast. Located along 1-95 (The New England Thruway), t~is property is
  easily accessible from many other parts of Connecticut, New York, and surrounding New England states to the north. There are numerous shops, churches, eateries, and various est~blishments just a
  short distance away.




You Might Also Like

                                                                                                                                                                            ➔ VIEW ALL PROPERTIES
Online Auction         Online Auction             Online Auction
Jun 26 - 28, 2023      Jun 26 - 28, 2023          Jul 24 - 27, 2023

Hotel                  Office                     Healthcare




Days Inn Henrietta     Cleveland Class A Office   Cash-Flowing Assisted
Rochester Area         w/ Anchor Tenant           Living
4853 W HENRIETTA RD,   1215 SUPERIOR AVE E,       2233 MCKINLEY ST,
HENRIETTA, NY 14467    CLEVELAND, OH 44114        HOLLYWOOD, FL 33020
